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AO 9l (Rev. I l/l l) Criminal Complaint                                                                            H H Ti"I
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                                                                  for the
                                                        District of New Mexico
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                  United States of America                                                        MITCHELL R.
                              v.                                                                        CLERK OF C
                         Ashley Aragon
                                                                            CaseNo. A3- i6'-lO             W\f


                            Ddedant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       July 21,2023               in the county of                   Lea                   in the
                        District of           New Mexico         , the defendant(s) violated:

             Code$ction                                                        Offene Description
21 U.S.c. SS 8a1(aX1) and (b)(1)                  -Possession with lntent to Distribute 400 Grams and More of Fentanyl.
(A)                                               -Use and Carry a Firearm During and in Relation to a Drug Trafficking Crime,
18 U.S.c. S e24(cX1)                              and Possession of a Firearm in Furtherance of a Drug Trafficking Crime.




          This criminal complaint is based on these facts:

See attached Affidavit.




          d Continued on the attached sheet.

                                                                                               /ibua & ; <a
                                                                                                Corpl ai nant' s d$natur e   Q
                                                                                      DEA Special Agent Victoria Espinoza
                                                                                             Printed nane and title

Electronically submitted and telephonically sworn to before
me.

Date; OsIebcr2l2023


City and state:                            Las Cruces, NM                              U.S. Magistrate Judge Jerry Ritter
                                                                                                 Printed nane and title
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                                    United States of America

                                          ,r,.rrr./Lrugon
I, Victoria Espinoza, Affiant, being duly sworn, state that the following information is true and
correct to the best of my knowledge and belief:

On July 21,2023, officers with the Lea County Drug Task Force ("LCDTF") arrested Ashley
Aragon ("Aragon") on an outstanding warrant. Aragon was the driver of a2016 Fiat the time of
her arrest. There was a female passenger in the Fiat at the time of Aragon's arrest.

A police canine arrived on scene and alerted to the smell of narcotics near the driver's door of
the Fiat. The Fiat was towed pending a search warrant.

On this same date, the officers obtained and executed a state district court search warrant for the
Fiat.

During the search of the Fiat, officers located a black Nike bag behind the front driver seat. In
the Nike bag, officers located clear heat-sealed plastic bags containing blue fentanyl pills
weighing approximately 875.1 grams. Officers also located fentanyl pills in the front area of the
vehicle weighing approximately 97 grams.

The fentanyl pills were sent to the DEA Laboratory and tested positive for fentanyl.

Also located in the Nike bag was a black Glock 17 pistol. The serial number is BPKR347. A
drum magazine with l1 rounds of 9mm ammunition with also located in the bag. The magazine
was not inserted into the pistol at the time of seizure.

Officers also located two cell phones, cash, a ledger, and foil with burnt residue.

On October 6,2023,I obtained a search warrant for Aragon's cell phone seized from the Fiat.
The content of Aragon's cellphone included messages with a telephone number, identified in the
phone as male individual. Between July 7ft, 2023, andJuly I llfi,2023 Aragon and the male
communicated via text regarding times and places to meet, including a message where the male
tells Aragon that he will travel from Albuquerque to Roswell and then to Hobbs to meet Aragon.
On July 12th,2023, the male sent Aragon a photograph of approximately 12 heat-sealed bags of
suspected blue fentanyl pills with a message stating he was on his way to meet Aragon soon. The
suspected blue fentanyl pills in the picture sent by the male are packed the same as the fentanyl
pills seized from Aragon on July 21"t,2023. On July l3t},2\23,Aragon sent the male an address
and stated "Hey this Ashley" and "We're right here". On this same date, Aragon and the male
continued to send multiple messages to each other discussing where to meet. The last two
messages on this date are the male telling Aragon "I'm here" and Aragon replying "Okay stay
right there I'm pulling in now also." Aragon and the male continue to send messages to each



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other to coordinate seeing each other up until, and including, July 21,2023, the day Aragon was
arrested.

I know based on my training and experience that the amount of fentanyl pills seized from the
Fiat are consistent with distribution, and that cash, ledgers, and firearms are tools of the drug
trade. I also know that firearms, in particular, are commonly used by drug traffickers to protect
themselves and their drugs from rival drug dealers and others who might want to steal the drugs.

On July 4,2023, Aragon was in a Cadillac Escalade with another male individual where officers
recovered approximately 747.6 grams of fentanyl pills, 256.5 grams of methamphetamine, and two
guns. On that date, Aragon gave officers a false name to avoid apprehension because she had a
pending state bench warrant

Based on the above, there is probable cause to believe that on July 21,2023, in the District of
New Mexico, Aragon committed the following offenses:

Count 1: Possession with Intent to Distribute 400 Grams and More of Fentanyl, in violation of
21 u.s.c. $$ 8a1(a)(1) and (b)(l)(A);

Count 2: Use and Carry a Firearm During and in Relation to a Drug Trafficking Crime, and
Possession of a Firearm in Furtherance of a Drug Trafficking Crime, in violation of 18 U.S.C. $
924(c)(l); and

AUSA Kirk Williams authorized federal prosecution of Aragon for the above-referenced crimes.




                                                                     l/)b+b Cyr;*;;*
                                                              Special Agent
                                                              Drug Enforcement Administration


Electronically submitted and telephonically
Sworn to before me on this 27_day of October,2023.




United States Magistrate Judge




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